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 1   Susan Fahringer, Bar No. 162978
     Nicola Menaldo (pro hac vice forthcoming)
 2   PERKINS COIE LLP
     1201 Third Avenue, Suite 4900
 3   Seattle, WA 98101
     Telephone: 206-359-8687
 4   Fax: 206-359-9000
     Email: sfahringer@perkinscoie.com
 5   Email: nmenaldo@perkinscoie.com
 6   Caroline Sundermeyer, Bar No. 353219
     PERKINS COIE LLP
 7   3150 Porter Drive
     Palo Alto, CA 94304
 8   Telephone: 650-838-4300
     Fax: 650-838-4350
 9   Email: csundermeyer@perkinscoie.com
10   Attorneys for Defendant
     The Trade Desk, Inc.
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12
                                  UNITED STATES DISTRICT COURT
13
                                 NORTHERN DISTRICT OF CALIFORNIA
14
                                     SAN FRANCISCO DIVISION
15

16
     JORGE HERNANDEZ-MENDOZA, STACY                     Case No. 3:25-cv-02923-CRB
17   PENNING, LAURA BONETTI, TANISHA
     DANTIGNAC, JESSICA LU, and ROBERT                  STIPULATION TO EXTEND TIME FOR
18   MASON, individually and on behalf of other         DEFENDANT TO RESPOND TO
     persons similarly situated,                        COMPLAINT [L.R. 6-1(A)]
19
                   Plaintiffs,                          Complaint Filed: March 28, 2025
20                                                      Current Response Date: April 24, 2025
            v.                                          New Response Date: June 23, 2025
21
     THE TRADE DESK, INC.,                              Judge: Hon. Charles R. Breyer
22
                   Defendant.
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 1                                             STIPULATION
 2          Pursuant to N.D. Cal. Local Rule 6-1(a), Plaintiffs Jorge Hernandez-Mendoza, Stacy

 3   Penning, Laura Bonetti, Tanisha Dantignac, Jessica Lu, And Robert Mason (“Plaintiffs”) and

 4   Defendant The Trade Desk, Inc. (“The Trade Desk”) (collectively, “the Parties”), by and through

 5   their respective attorneys of record, stipulate and agree as follows:

 6          1.      WHEREAS, Plaintiffs filed their Complaint on March 28, 2025;

 7          2.      WHEREAS, The Trade Desk was served with the Complaint on April 3, 2025;

 8          3.      WHEREAS, under Federal Rule of Civil Procedure 12(a)(1)(A)(i), The Trade

 9   Desk’s deadline to answer or otherwise respond to the Complaint is April 24, 2025;

10          4.      WHEREAS, the Parties have agreed to extend The Trade Desk’s deadline to answer

11   or otherwise respond to the Complaint by sixty (60) days, to June 23, 2025;

12          5.      WHEREAS, this stipulation is made without prejudice to The Trade Desk’s right to

13   seek additional time to answer or otherwise respond to the Complaint if necessary;

14          NOW, THEREFORE, IT IS HEREBY STIPULATED by and between the Parties that The

15   Trade Desk’s deadline to answer or otherwise respond to the Complaint is extended from April 24,

16   2025 to June 23, 2025.

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18          IT IS SO STIPULATED AND AGREED.

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 1   DATED:       April 22, 2025
 2

 3   PERKINS COIE LLP                                     BURSOR & FISHER, PA
 4
     By: /s/ Susan Fahringer                              By: /s/ Philip L. Fraietta
 5       Susan Fahringer, Bar No. 162978                      Philip L. Fraietta
         Nicola Menaldo (pro hac vice                         BURSOR & FISHER P.A.
 6       forthcoming)                                         1330 Avenue of the Americas, 32nd Floor
         PERKINS COIE LLP                                     New York, NY 10019
 7       1201 Third Avenue, Suite 4900                        (646) 837-7150
         Seattle, WA 98101                                    Email: pfraietta@bursor.com
 8       Telephone: 206-359-8687
         Fax: 206-359-9000                                    Joshua R. Wilner
 9       Email: sfahringer@perkinscoie.com                    BURSOR & FISHER P.A.
         Email: nmenaldo@perkinscoie.com                      1990 N. California Blvd., Suite 940
10
                                                              Walnut Creek, CA 94596
         Caroline Sundermeyer, Bar No. 353219                 925-300-4400
11       PERKINS COIE LLP                                     Email: jwilner@bursor.com
         3150 Porter Drive
12       Palo Alto, CA 94304                                  Attorneys for Plaintiffs
         Telephone: 650-838-4300
13       Fax: 650-838-4350
         Email: CSundermeyer@perkinscoie.com
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     Attorneys for Defendant The Trade Desk, Inc.
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 1                                           ATTESTATION
 2          I, Susan Fahringer, hereby attest, pursuant to N.D. Cal. Local Rule 5-1(i), that the
 3   concurrence to the filing of this document has been obtained from the other signatories.
 4
      DATED: April 22, 2025                               PERKINS COIE LLP
 5

 6                                                        By: /s/ Susan Fahringer
                                                              Susan Fahringer
 7
                                                          Attorneys for Defendant The Trade Desk, Inc.
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                       STIPULATION TO EXTEND TIME FOR DEFENDANT TO RESPOND TO COMPLAINT
